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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


TRINA ARBINI, et al.,
                                                     2:23-CV-12832
                  Plaintiffs,


     vs.                                     ORDER DISMISSING CASE

GENERAL MOTORS, LLC,

                  Defendant.              HONORABLE TERRENCE G. BERG



      Pursuant to the Notice of Voluntary Dismissal by Plaintiffs, this case is

DISMISSED without prejudice.

      IT IS SO ORDERED.



                                    BY THE COURT:


                                    /s/Terrence G. Berg
                                    TERRENCE G. BERG
                                    UNITED STATES DISTRICT JUDGE
Dated: December 26, 2023
